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                                                                           1    Jeremy V. Richards (CA Bar No. 102300)
                                                                                Malhar S. Pagay (CA Bar No. 189289)
                                                                           2    PACHULSKI STANG ZIEHL & JONES LLP
                                                                                10100 Santa Monica Blvd., 13th Floor
                                                                           3    Los Angeles, California 90067-4100
                                                                                Telephone: (310) 277-6910
                                                                           4    Facsimile: (310) 201-0760
                                                                                Email: jrichards@pszjlaw.com
                                                                           5           mpagay@pszjlaw.com

                                                                           6    Attorneys for John Hyde, Plan Agent

                                                                           7

                                                                           8                                      UNITED STATES BANKRUPTCY COURT

                                                                           9                                       CENTRAL DISTRICT OF CALIFORNIA

                                                                           10                                                LOS ANGELES DIVISION

                                                                           11   In re:                                                       Case No.: 2:10-12122-BR
P ACH ULS KI S TANG Z IEH L & J O NES LLP




                                                                           12   PERSIK PRODUCTIONS, INC.,                                    Chapter 11
                                            L OS ANG ELE S, CA LIFORN IA




                                                                           13                                Debtor                       NOTICE OF EFFECTIVE DATE OF
                                                ATTOR NEY S AT LAW




                                                                                                                                          DEBTOR’S SECOND AMENDED CHAPTER 11
                                                                           14                                                             PLAN OF REORGANIZATION
                                                                           15                                                              Effective Date: October 12, 2011
                                                                           16

                                                                           17              PLEASE TAKE NOTICE that:

                                                                           18              1.       On May 26, 2011, the Court entered its order confirming the Debtor’s Second

                                                                           19   Amended Chapter 11 Plan of Reorganization (the “Plan”).1 Copies of the Plan and the order

                                                                           20   confirming the Plan may be obtained through the Court’s PACER document access system at

                                                                           21   https://ecf.cacb.uscourts.gov/ or upon written request to counsel identified in the upper left-hand

                                                                           22   corner of the first page of this Notice.

                                                                           23              2.       In connection with certain defaults (collectively, “Events of Default”) by Davand and

                                                                           24   related parties of their obligations under the Plan and that certain Stipulation for: (1) Further

                                                                           25   Extension of Time to File Plan of Reorganization and Disclosure Statement; (2) Further Extension

                                                                           26   of Debtor’s Exclusive Periods to File Plan of Reorganization and to Solicit Acceptances to Plan of

                                                                           27   Reorganization; and (3) Posting of Plan Deposit, entered into on or around November 30, 2010, on

                                                                           28
                                                                                1
                                                                                    Capitalized terms not otherwise defined herein shall have the same meanings as set forth in the Plan.

                                                                                DOCS_LA:246980.1 69979-001                                    1
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                                                                           1    August 11, 2011, the Debtor, Yari, Davand, certain parties affiliated with the foregoing (collectively,

                                                                           2    “Yari Parties”), the Guilds, Committee and John Hyde, in his capacity as the Plan Agent under the

                                                                           3    Plan (“Plan Agent”),2 entered into a Forbearance Agreement (“Forbearance Agreement”) pursuant to

                                                                           4    which the Committee, Guilds and Plan Agent (collectively, the “Forbearing Parties”) agreed to

                                                                           5    forbear from exercising their respective rights and remedies against the Yari Parties arising from the

                                                                           6    Events of Default and to defer certain obligations of the Yari Parties under the Plan, under the terms

                                                                           7    and conditions set forth in the Forbearance Agreement.

                                                                           8            3.         Effective Date. On or around November 1, 2011, the parties entered into an

                                                                           9    Amendment to Forbearance Agreement (the “Amendment”), which, among other provisions,

                                                                           10   establishes the Effective Date under the Plan to be October 12, 2011.3

                                                                           11           4.       Plan Agent and Reorganized Debtor Contact Information of Counsel. The name
P ACH ULS KI S TANG Z IEH L & J O NES LLP




                                                                           12   and contact information of the Plan Agent under the Plan is provided below:
                                            L OS ANG ELE S, CA LIFORN IA




                                                                           13
                                                ATTOR NEY S AT LAW




                                                                                                 John Hyde, Plan Agent
                                                                           14                    c/o Pachulski Stang Ziehl & Jones LLP
                                                                           15                    10100 Santa Monica Blvd., 13th Floor
                                                                                                 Los Angeles, California 90067
                                                                           16                    Attn: Jeremy V. Richards / Malhar S. Pagay

                                                                           17   The contact information of the Reorganized Debtor is provided below:

                                                                           18                    Persik Productions, Inc.
                                                                                                 c/o Winthrop Couchot Professional Corporation
                                                                           19                    660 Newport Center Drive, Suite 400
                                                                                                 Newport Beach, California 92660
                                                                           20
                                                                                                 Attn: Robert E. Opera
                                                                           21
                                                                                        5.       Administrative Claims Bar Date and Objections to Administrative Claims.
                                                                           22
                                                                                Pursuant to the Plan, the Administrative Claims Bar Date is November 11, 2011. Any holder of an
                                                                           23
                                                                                Administrative Claim that is required to file a request for payment of its Administrative Claim by the
                                                                           24
                                                                                Administrative Claims Bar Date and that does not file by the Administrative Claims Bar Date such
                                                                           25
                                                                                request for payment shall be forever barred from asserting such Administrative Claim against the
                                                                           26
                                                                                2
                                                                           27     The “Plan Agent” shall have the meaning defined in the Plan at § 2.1.108.
                                                                                3
                                                                                  Nothing contained herein shall be construed as a waiver by the Forbearing Parties of their rights to compel payment of
                                                                           28   the outstanding balance of $13,000.00 identified in paragraph 2 of the Amendment, and to declare a default or enforce
                                                                                any party’s obligations under the Plan, Forbearance Agreement, or Amendment, all such rights being expressly reserved.

                                                                                DOCS_LA:246980.1 69979-001                                 2
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                                                                           1    Plan Fund, Plan Agent, Debtor, the Reorganized Debtor, the Estate or any property or assets of any

                                                                           2    of the foregoing. All objections to the allowance of claims subject to the Administrative Claims Bar

                                                                           3    Date must be filed no later than December 26, 2011.

                                                                           4            6.       Claims Objection Deadline. Unless another date is established by order of the

                                                                           5    Bankruptcy Court, an objection to a Claim must be filed with the Bankruptcy Court and served on

                                                                           6    the Creditor holding such Claim on or before the latest of (a) April 9, 2012; (b) the ninetieth (90 th)

                                                                           7    day after a Proof of Claim with respect to a specific Claim is filed by the Creditor; and (c) such

                                                                           8    greater period of limitation as may be fixed or extended by the Bankruptcy Court or by agreement of

                                                                           9    the Creditor asserting such Claim.

                                                                           10           7.       Bar Date for Filing Avoidance Action Payment Claims. Any Avoidance Action

                                                                           11   Payment Claim shall be forever barred, shall not be enforceable against the Debtor, the Reorganized
P ACH ULS KI S TANG Z IEH L & J O NES LLP




                                                                           12   Debtor, Plan Agent or the Plan Fund and shall not be entitled to any Distribution under the Plan,
                                            L OS ANG ELE S, CA LIFORN IA




                                                                           13   unless a Proof of Claim for such Avoidance Action Payment Claim is filed and served on the Plan
                                                ATTOR NEY S AT LAW




                                                                           14   Agent and the Reorganized Debtor within thirty (30) days after the later of (a) the date of entry of

                                                                           15   the order of the Bankruptcy Court adjudging the Creditor’s liability to the Debtor or to the Plan Fund

                                                                           16   on account of an Avoidance Action; and (b) the date of service of notice of the Bar Date upon the

                                                                           17   Creditor asserting the Avoidance Action Payment Claim.

                                                                           18           8.       Bar Date for Rejection Claims. Any Rejection Claim shall be forever barred, shall

                                                                           19   not be enforceable against the Debtor, Reorganized Debtor, Plan Agent or the Plan Fund, and shall

                                                                           20   not be entitled to any Distribution under the Plan, unless a Proof of Claim for such Rejection Claim

                                                                           21   is filed and served on the Reorganized Debtor and the Plan Agent within thirty (30) days after the

                                                                           22   later of (a) the date of entry of the order of the Bankruptcy Court approving the rejection of the

                                                                           23   executory contract or unexpired lease; and (b) the date of service of notice of the Bar Date upon the

                                                                           24   Creditor asserting the Rejection Claim.

                                                                           25
                                                                                Dated: November 3, 2011                PACHULSKI STANG ZIEHL & JONES LLP
                                                                           26

                                                                           27                                          By     /s/ Malhar S. Pagay
                                                                                                                       Malhar S. Pagay
                                                                           28                                          Attorneys for John Hyde, Plan Agent


                                                                                DOCS_LA:246980.1 69979-001                          3
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  NOTE: When using this form to indicate service of a proposed order, DO NOT list any person or entity in Category I.
Proposed orders do not generate an NEF because only orders that have been entered are placed on the CM/ECF docket.

                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                             th
10100 Santa Monica Blvd., 11 Fl., Los Angeles, CA 90067.

                       NOTICE OF EFFECTIVE DATE OF DEBTOR’S SECOND
The foregoing document described as
AMENDED CHAPTER 11 PLAN OF REORGANIZATION will be served or was served (a) on the judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner indicated below:

I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”) – Pursuant to controlling General
Order(s) and Local Bankruptcy Rule(s) (“LBR”), the foregoing document will be served by the court via NEF and hyperlink
to the document. On November 3, 2011, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following person(s) are on the Electronic Mail Notice List to receive NEF transmission at the email
address(es) indicated below:

                                                                                          Service information continued on attached page

II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL(indicate method for each person or entity served):
On November 3, 2011, I served the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States Mail,
first class, postage prepaid, and/or with an overnight mail service addressed as follows. Listing the judge here constitutes
a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

Via Federal Express
The Honorable Barry Russell
United States Bankruptcy Court
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Ste. 1660
Los Angeles, CA 90012
                                                                                          Service information continued on attached page

III. SERVED BY PERSONAL DELIVERY, FACSIMILE TRANSMISSION OR EMAIL (indicate method for each person or
entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on __________ served the following person(s) and/or
entity(ies) by personal delivery, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on the judge will be
completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.

 November 3, 2011                      Megan J Wilson                                         /s/ Megan J Wilson
 Date                                 Type Name                                               Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
January 2009                                                                                                                     F 9013-3.1
DOCS_LA:246980.1 69979-001
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I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

        David E Ahdoot dahdoot@bushgottlieb.com, jpalmer@bushgottlieb.com
        Michael F Chekian mike@cheklaw.com, msalanick@cheklaw.com
        Alicia Clough alicia.clough@kayescholer.com
        Marc S Cohen mcohen@kayescholer.com
        Ashleigh A Danker adanker@kayescholer.com
        Jeremy Faith jfaith@goodmanfaith.com
        Richard H Golubow rgolubow@winthropcouchot.com,
         pj@winthropcouchot.com;vcorbin@winthropcouchot.com
        David Guess dguess@ktbslaw.com
        Alan S Gutman alangutman@gutmanlaw.com
        Garrick A Hollander ghollander@winthropcouchot.com,
         gcrumpacker@winthropcouchot.com;pj@winthropcouchot.com
        Lance N Jurich ljurich@loeb.com, kpresson@loeb.com
        Joseph A Kohanski jkohanski@bushquinonez.com, jpalmer@bushgottlieb.com
        Mark J Krone mk@amclaw.com, crs@amclaw.com;amc@amclaw.com
        Alvin Mar alvin.mar@usdoj.gov
        Ron Maroko ron.maroko@usdoj.gov
        Robert E Opera ropera@winthropcouchot.com,
         pj@winthropcouchot.com;gcrumpacker@winthropcouchot.com
        Malhar S Pagay mpagay@pszjlaw.com, mpagay@pszjlaw.com
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        James R Selth jim@wsrlaw.net
        Jonathon Shenson jshenson@ktbslaw.com
        Howard Steinberg hsteinberg@irell.com, awsmith@irell.com
        United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
        Pamela Kohlman Webster pwebster@buchalter.com
        Eric D Winston ericwinston@quinnemanuel.com
        Marc J Winthrop mwinthrop@winthropcouchot.com,
         pj@winthropcouchot.com;vcorbin@winthropcouchot.com
        Melvin Yee myee@bushgottlieb.com, jpalmer@bushgottlieb.com


II. SERVED BY U.S. MAIL

See Attached Service List




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
January 2009                                                                                                                     F 9013-3.1
DOCS_LA:246980.1 69979-001
               Case 2:10-bk-12122-BR    Doc 328 Filed 11/04/11 Entered 11/04/11 07:55:58 Desc
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                                                                                  II Harvadania Corporation
0973-2                                   c/o Howard J. Steinberg                       c/o Weintraub & Selth, APC
Case 2:10-bk-12122-BR                    Irell & Manella LLP                           11766 Wilshire Blvd., Suite 1170
Central District Of California           1800 Avenue of the Stars, 9th Floor           Los Angeles, CA 90025-6553
Los Angeles                              Los Angeles, CA 90067-4201
Thu Nov 3 17:33:56 PDT 2011
John Hyde, Plan Agent                    Kaye Scholer LLP                              Official Committee of Unsecured Creditors in
                                         1999 Avenue of the Stars, Suite 1700          Kaye Scholer LLP
                                         Los Angeles, CA 90067-4622                    1999 Avenue of the Stars, Suite 1700
                                                                                       Los Angeles, CA 90067-4622


Persik Productions, Inc.                 Screen Actors Guild Inc; Directors Guild of   United Talent Agency, a Cal. Corp.
10850 Wilshire Blvd., 6th Fl.            c/o Bush Gottlieb et al.                      c/o Freedman & Taitelman, LLP
Los Angeles, CA 90024-4319               Joseph A. Kohanski                            Bryan Freedman, Esq. Jonathan Genish Esq
                                         500 N. Central Avenue, Ste. 800               1901 Ave. of the Stars, Ste. 500
                                         Glendale, CA 91203-3345                       Los Angeles, CA 90067-6027

Warner Bros. Entertainment Inc.          Winthrop Couchot Professional Corporation     Los Angeles Division
4000 Warner Blvd.                        660 Newport Center Drive, 4th Floor           255 East Temple Street,
Bldg 156, Rm. 5158                       Newport Beach, CA 92660-6401                  Los Angeles, CA 90012-3332
Burbank, CA 91522-0001


Alex Pilmer,Chp.7 Trustee of YFGR        Alliance Atlantis Releasing Limited           Alliance Atlantis Releasing Ltd et al.
Kaye Scholer LLP, Attn: Marc S. Cohen    dba Momentum Pictures                         Yonaton M Rosenzweig
1999 Avenue of the Stars, 17th Floor     Eric Winston Esq & Yonaton Rosenzwig          Bruce E Van Dalsem, Esq.
Los Angeles, CA 90067-4622               865 S. Figueroa St 10th Fl                    Quinn Emanuel Urquhart Oliver & Hedges L
                                         Los Angeles, CA 90017-5003                    865 South Figueroa Street, 10th Floor
                                                                                       Los Angeles, CA 90017-5003
Alliance Films Inc.                      Apollo ProScreen GmbH & Film Production KG    ApolloProScreen/Co Filmprod KG
c/o Yonaton Rosenzweig                   Thomas Becker & Jorg Westerkamp               Attn: Jorg Westercamp
Katten Muchin Rosenman, LLP              Candidplatz 11                                Alte Landstrasse 25
2029 Century Park East, Suite 2600       81543 Munich                                  85521 Ottobrunn Germany
Los Angeles, CA 90067-3012               Germany

ApolloProScreen/Co Filmprod KG           Aurum Producciones, S.A.                      Bananafish Filmworks, Inc
Attn: Peter J. Anderson, Esq.            c/o Bruce Van Dalsem and Eric Winston         Atn B Koppleman-Endvr Agcy
100 Wilshire Blvd., #2010                865 S. Figueroa St. Tenth Floor               9601 Wilshire Blvd, 3rd Fl
Santa Monica, CA 90401-1153              Los Angeles, CA 90017-2543                    Beverly Hills, CA 90210-5219


Bank Leumi USA                           Barkley Court Reporters                       Baseline, Inc.
Attn: Authorized Agent                   Attn: Corporate Officer                       Attn: Corporate Officer
8383 Wilshire Blvd., #400                File No 50217                                 File 50748
Beverly Hills, CA 90211-2400             Los Angeles, CA 90074-0001                    Los Angeles, CA 90074-0748


Baute & Tidus                            Canipre                                       Cathy Schulman, et al.
Attn: Corporate Officer                  Attn: Corporate Officer                       Attn: RD Dal Soglio/Dal Soglio-Martens
801 S. Figueroa St., #1100               2813 Bethel Road                              2250 E. Imperial Hwy, #200
Los Angeles, CA 90017-5504               New Hamburg, ON N3A2X9                        Los Angeles, CA 90059


Chubb Insurance Co of Canada             City of LA,   Office of finance               City of Los Angeles Ofc Fin
Attn: Corporate Officer                  Attn: Wendy   Loo                             Attn: Authorized Agent
1 Financial Pl/1 Adelaide St E           200 N. Main   St Ste 920                      P.O. Box 53233
Toronto, ON M5C 2V9                      Los Angeles   CA 90012-4128                   Los Angeles, CA 90053-0233
               Case 2:10-bk-12122-BR          Doc 328 Filed 11/04/11 Entered 11/04/11 07:55:58 Desc
Contagious Entertainment                       Contagious Entertainment Page 7 of 10
                                               Main Document                         Contagious Entertainment LLC c/o The Marguli
Attn: Ted Liebowitz                            c/o Law Offices of Robert A. Kahn           16030 Ventura Blvd Suite 470
110 Anchorage Road                             5550 Topanga Cyn Blvd., #200                Encino CA 91436-4493
Hewlett, NY 11557-2502                         Woodland Hills, CA 91367-7445


Contagious Entertainment, LLC                  Corporation Service Company                 D.R. Reiff & Associates
Attn: Robert A. Kahn, Esq.                     Attn: Corporate Officer                     Attn: Corporate Officer
5550 Topanga Canyon Bl #200                    P.O. Box 13397                              320 West 57th Street
Woodland Hills, CA 91367-7445                  Philadelphia, PA 19101-3397                 New York, NY 10019-3705


Daniel Keston                                  Directors Guild of America, Inc.            Directors Guild of America, Inc.
16907 Dulce Ynez Lane                          Attn: Corporate Officer                     c/o J. Kohanski/D. Ahdoot
Pacific Palisades, CA 90272-2812               7920 W. Sunset Blvd.,                       Bush Gottlieb Singer et al.
                                               Los Angeles, CA 90046-3347                  500 N. Central Ave., Ste. 800
                                                                                           Glendale, CA 91203-3345

Directors Guild of America-Producer Pension    E1 Films Canada Inc.                        Employment Development Dept.
c/o J. Kohanski/D. Ahdoot                      Alan S. Gutman, Esq.                        Bankruptcy Group MIC 92E
Bush Gottlieb Singer et al.                    John Juenger, Esq.                          PO Box 826876
500 N. Central Ave., Ste. 800                  Law Offices of Alan S. Gutman               Sacramento, CA 94280-0001
Glendale, CA 91203-3345                        9401 Wilshire Boulevard, Suite 575
                                               Beverly Hills, CA 90212-2918
Equity Pictures Medien/Co KG II                F.A.W. Pictures Inc.                        Fleetwood Limousine, Ltd
Attn: Florian Lechner                          Attn: Corporate Officer                     Attn: Managing Partner
HRB Munchen 163539                             116 Pinehurst Ave/ H64                      5839 Green Valley Cir, #102
Zillertalstr. 49 Germany                       New York, NY 10033-1755                     Culver City, CA 90230-6962


Franchise Tax Board                            Genga & Associates                          Gregory Yates ESq
Attn: Bankruptcy                               Attn: Corporate Officer                     16830 Ventura Blvd Ste 250
PO Box 2952                                    15260 Ventura Blvd., #1810                  Encino CA 91436-1715
Sacramento, CA 95812-2952                      Sherman Oaks, CA 91403-5350


Grosvenor Park Investors, LLC                  HARVADANIA CORP                             Harvadania Corp c/o G Bodell
Attn: Managing Member                          C/O DANIEL J WEINTRAUB                      Kozberg & Bodell, LLP
2029 Century Park East, #1800                  12121 WILSHIRE BLVD STE 1300                1800 Century Park E, 8th Fl
Los Angeles, CA 90067-3004                     LOS ANGELES CA 90025-1166                   Los Angeles, CA 90067-1501


Heenan Blaikie LLP                             Holland + Knight LLP                        Howard Ehrenberg, Ch7 Trustee Axium Internat
Attn: Managing Partner                         Attn: Corporate Officer                     c/o Daniel H Gill Esq
1055 W Hastings St., #2200                     131 South Dearborn                          Ezra Brutzkus Gubner LLP
Vancouver BC V6E 2E9                           Chicago, IL 60603-5550                      21650 Oxnard St Ste 500
                                                                                           Woodland Hills, CA 91367-4911

ICB Entertainment Fin/Imperial Cap. Bank       Internal Revenue Service                    Jacobson Russell, et al.
Attn: Authorized Agent                         Special Procedures/Bankr                    Attn: JP Friedman/JP Friedman Asc
1840 Century Park East, 10th Fl.               PO Box 1431                                 9903 Santa Monica, Blvd.
Los Angeles, CA 90067-2101                     Los Angeles, CA 90053                       Beverly Hills, CA 90212-1671


James Robb                                     James Robb                                  Jason Byers
25 Mattben Drive                               Attn: MT Anderson/Loeb & Loeb               332 Bleecker St. #K46
Warren, NJ 07059-7142                          10100 Santa Monica Blvd., #2200             New York, NY 10014-2980
                                               Los Angeles, CA 90067-4120
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Katy Garfield                                   Key
                                                MainEquipment Finance Inc. Page 8 of 10
                                                        Document                        Levien Works, Inc.
30 Bergen Street #3                             1000 S. McCaslin Blvd.                        Atn D Levien-Endvr Agcy
Brooklyn, NY 11201-6302                         Superior, CO 80027-9437                       9601 Wilshire Blvd, 3rd Fl
                                                                                              Beverly Hills, CA 90210-5219


Levine Sullivan et al LLP                       Los Angeles Cnty Tax Coll                     Los Angeles County Assessor
Attn: Managing Partner                          225 North Hill Street                         500 W. Temple Street, Rm 320
230 Park Ave, #1160                             Los Angeles, CA 90012-3232                    Los Angeles, CA 90012-4199
New York, NY 10169-1160


Los Angeles County Treasurer and Tax Collect    M. Norseman                                   M. Norseman
PO box 54110                                    c/o Levene Neale Bender Rankin & Brill        c/o Richard L. Charnley, Esq.
Los Angeles, Ca 90054-0110                      10250 Constellation Blvd., #1700              Ropers, Majeski Kohn & Bentley
                                                Los Angeles, CA 90067-6253                    515 S. Flower St., #1100
                                                                                              Los Angeles, CA 90071-2213

MATT DILLON, D/B/A MATTHIAS PRODUCTIONS, INC    MHF Zweite Acad Film/Co KG                    MHF Zweite Academy Film GmbH & Co., KG
Richard L. Charnley                             Attn: Wolfgang Schamburg                      C/O Klee, Tuchin, Bogdanoff & Stern LLP
Ropers Majski Kohn & Bentley                    Kolosseum Strasse 1                           Attention: Jonathan Shenson
515 S. Flower St #1100                          Munchen 80469 Germany                         1999 Avenue of the Stars, 39th Floor
Los Angeles CA 90071-2213                                                                     Los Angeles, California 90067-6049

MHF Zweite Academy Film GmbH Co. KG (MHF)       Martin Norseman                               Michael London Prod Inc
attn: Janathan S Shenson, Esq.                  Attn: JR Matheny/Muse Matheny                 Atn M London-Endeavor Agcy
Klee, Tuchin, Bogdanoff & Stern, LLP            9440 Santa Monica Blvd., #515                 9601 Wilshire Blvd, 3rd Fl
1999 Avenue of the Stars, 39th Fl               Beverly Hills, CA 90210-4608                  Beverly Hills, CA 90210-5219
Los Angeles, CA 90067-6049

Momentum/Aurum/MPD                              Motion Picture Distribution                   Motion Pictures Industry Pension & Health Pl
Attn: BE Van Dalsem/Quinn et al                 c/o Bruce Van Dalsem & Yonaton                Attn: Joseph A. Kohanski, Esq.
865 S. Figueroa St., 10th Fl.                   Rosenzweig Quinn Emanuel et al.               500 No. Central Ave., Ste 800
Los Angeles, CA 90017-5003                      865 S. Figueroa St., 10th Fl.                 Glendale, CA 91203-3345
                                                Los Angeles, CA 90017-5003

NTN, Inc./Edward Norton                         Nahai Law Group                               Nixon Peabody, LLP
c/o Robert Offer                                Attn: Behzad Nahai, Esq.                      Attn: Alison D’Angelo
9601 Wilshire Blvd, #500                        10850 Wilshire Blvd., Suite 1100              100 Summer Street
Beverly Hills, CA 90210-5207                    Los Angeles, CA 90024-4323                    Boston, MA 02110-2131


O’Melveny & Meyers, LLP                         Office of the U.S. Trustee                    Palatine Hills/Paul Giamatti
Attn: Managing Partner                          725 S. Figueroa St., 26th Fl.                 c/o Robert Offer
400 S Hope St., 10th Fl.                        Los Angeles, CA 90017-5524                    9601 Wilshire Blvd, #500
Los Angeles, CA 90071-2899                                                                    Beverly Hills, CA 90210-5207


Paul Haggis, Inc.                               Paul Haggis, Inc; Mambo, Inc, Bobby Moresco   Paul Haggis, et al
Ricahrd L Charnley                              Ricahrd L Charnley                            Attn: RL Charnley/Ropers et al
Roper Majeski Kohn & Bently                     Roper Majeski Kohn & Bently                   515 S. Flower St., #1100
515 S Flower St #1100                           515 S Flower St #1100                         Los Angeles, CA 90071-2213
Los Angeles, CA 90071-2213                      Los Angeles, CA 90071-2213

Persik Productions, Inc.                        Pilot Boy Productions, Inc.                   Proskauer Rose LLP
Attn: Dennis S. Brown, CFO                      c/o Squire Sanders & Dempsey                  Attn: Managing Partner
10850 Wilshire Blvd, 6th Fl                     Atten: Fred Nance & Sherri Dahl               2049 Century Park East, Ste 3200
Los Angeles, CA 90024-4319                      4900 Key Tower, 127 Public Sq.                Los Angeles, CA 90067-3206
                                                Cleveland, OH 44114-1304
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RESARF, INC.                            Rogue
                                        MainPictures/Focus
                                              DocumentFeatures LLC 9 of 10
                                                            Page           Saffer & Flint Accountancy Corp.
Ricahrd L Charnley                      Attn: Managing Member                       Attn: Corporate Officer
Roper Majeski Kohn & Bently             100 Universal City Plaza, Bldg 9128         16030 Ventura Blvd., Suite 510
515 S Flower St #1100                   Universal City, CA 91608-1002               Encino, CA 91436-4474
Los Angeles, CA 90071-2213

Screen Actors Guild                     Screen Actors Guild, Inc.                   Screen Actors Guild-Producer Pension and Hea
Attn: Authorized Agent                  c/o J. Kohanski/D. Ahdoot                   c/o J. Kohanski/D. Ahdoot
7065 Hollywood Blvd.                    Bush Gottlieb Singer et al.                 Bush Gottlieb Singer et al.
Los Angeles, CA 90028-6041              500 N. Central Ave., Ste. 800               500 N. Central Ave., Ste. 800
                                        Glendale, CA 91203-3345                     Glendale, CA 91203-3345

Spillane Shaeffer et al                 (p)CALIFORNIA STATE BOARD OF EQUALIZATION   Steven Strick
Attn: Managing Partner                  ACCOUNT REFERENCE GROUP MIC 29              9107 Wilshire Boulevard Suite 625
1880 Century Park E, #1004              P O BOX 942879                              Beverly Hills, CA 90210-5543
Los Angeles, CA 90067-1623              SACRAMENTO CA 94279-0029


The Penstock Group                      Thomson CompuMark                           Union Bank of California, NA
Attn: Corporate Officer                 Attn: Corporate Officer                     Attn: Authorized Agent
1433 Merrifield Lane                    P.O. Box 71892                              111 Old Eagle School Rd.
Marietta, GA 30062-2064                 Chicago, IL 60694-1892                      Wayne, PA 19087-1453


United States Trustee (LA)              United Talent Agency                        Warner Brothers Entertainment, Inc.
725 S Figueroa St., 26th Floor          Atn BJ Freedman/Freedman Taitelman          Attn: Corporate Officer
Los Angeles, CA 90017-5524              1901 Avenue of the Stars, #500              4000 Warner Blvd
                                        Los Angeles, CA 90067-6027                  Burbank, CA 91522-0001


Warner Independent Pictures, Inc.       Warner Specialty Films, Inc.                Winstead Sechrest et al
Attn: Corporate Officer                 4000 Warner Blvd.                           Attn: Corporate Officer
4000 Warner Blvd., Bldg 76              Burbank, CA 91522-0001                      108 West Front Street
Burbank, CA 91522-0001                                                              DeKalb, TX 75559-1308


Winthrop Couchot Prof Corp              Worldwide SPE Acquisitions, Inc.            Writers Guild of America
Attn: RobertE. Opera, Esq.              Attn: Corporate Officer                     c/o Joe Kohanski and Bush
660 Newport Center Dr., #400            10202 Washington Blvd.                      Gottlieb Singer Lopez et al.,
Newport Beach, CA 92660-6427            Culver City, CA 90232-3119                  500 North Central Avenue, Suite 800
                                                                                    Glendale, CA 91203-3345

Writers Guild of America West, Inc.     Writers’ Guild-Industry Health Fund         Zcleve
Attn: Corporate Officer                 and Producer-Writers Guild of America P     Attn: Corporate Officer
7000 W 3rd St                           c/o J. Kohanski/D. Ahdoot                   512 Muskingum Place
Los Angeles, CA 90048-4329              Bush Gottlieb Singer et al.                 Pacific Palisades, CA 90272-4256
                                        500 N. Central Ave., Ste. 800
                                        Glendale, CA 91203-3345
Garrick A Hollander                     JONATHAN S SHENSON                          Marc J Winthrop
Winthrop Couchot                        KLEE TUCHIN BOGDANOFF & STERN LLP           660 Newport Center Dr Ste 400
660 Newport Center Dr Ste 400           1999 AVENUE OF THE STARS 33RD FLOOR         Newport Beach, CA 92660-6427
Newport Beach, CA 92660-6427            LOS ANGELES, CA 90067-6033


R Alexander Pilmer                      Richard H Golubow                           Robert E Opera
Kaye Scholer LLP                        Winthrop Couchot                            660 Newport Center Dr Ste 400
1999 Avenue of the Stars                660 Newport Center Drive Ste 400            Newport Beach, CA 92660-6427
Ste 1700                                Newport Beach, CA 92660-6427
Los Angeles, CA 90067-4622
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                                                      Main Document     Page 10 of 10
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State Board of Equalization
450 N Street
PO Box 94287
Sacramento, CA 94279-0001




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(d)Warner Bros. Entertainment Inc.                     (u)XL Reinsurance America Inc.                       (u)David L Hahn Chapter 7 Trustee
4000 Warner Blvd.                                                                                           Unknown
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